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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND


                                           )
 UNITED STATES OF AMERICA,                 )
                                           )
 v.                                        )       Criminal Case No. 22-cr-00007-LKG
                                           )
 MARILYN J. MOSBY,                         )       Dated: October 24, 2022
                                           )
       Defendant.                          )
                                           )

                                         ORDER
      The Court will hold a hearing in the above-captioned criminal matter on Thursday,
December 15, 2022, at 2 pm in Courtroom 1A of the Edward A. Garmatz Courthouse, 101
W. Lombard Street, Baltimore, MD on the following matters:

      1. The Government’s motion for an order pursuant to Local Rules 204 and 603, dated
         September 15, 2022 (ECF No. 120);
      2. The Court’s Order to Show Cause, dated September 30, 2022 (ECF No. 124); and

      3. Defendant’s motion to transfer venue, dated October 20, 2022 (ECF No. 129).

      IT IS SO ORDERED.



                                               s/ Lydia Kay Griggsby
                                               LYDIA KAY GRIGGSBY
                                               United States District Judge
